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     6   NAVARRETE individually and on
     6   behalf of all others similarly situated
     7
     7
     8                        UNITED STATES DISTRICT COURT
     8
     9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
     9
    10
    10
    11   ANTONIO NAVARRETE, individually             Case No. 8:19-cv-00794-JLS-ADS
    11   and on behalf of all others similarly       Hon. Josephine L. Staton
    12   situated,
    12                                          MEMORANDUM OF POINTS AND
    13                  Plaintiffs,
    13                                          AUTHORITIES ISO PLAINTIFF’S
    14        v.                                MOTION FOR FINAL APPROVAL
    14                                          OF CLASS ACTION SETTLEMENT;
    15   SPRINT/UNITED MANAGEMENT
    15   COMPANY, a Kansas Corporation;         ATTORNEYS’ FEES, COSTS,
    16   SPRINT CORPORATION, a Kansas           SERVICE AWARDS, AND
    16   Corporation; and DOES 1-50, inclusive, ADMINISTRATION COSTS
    17
    17                  Defendants.
    18
                                                [Proposed Order and Declarations of
    18                                          Class Counsel James Hawkins,
    19                                          Administrator Nathalie Hernandez, and
    19
    20                                          Plaintiff Navarrete filed concurrently
    20                                          herewith]
    21
    21                                               Date: August 13, 2021
    22                                               Time: 10:30 a.m.
    22                                               Courtroom: 10A
    23
    23                                               Complaint Filed: January 29, 2019
    24                                               FAC: January 28, 2020
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     1            I.    INTRODUCTION
     1
     2            Plaintiff Navarrete as appointed Class Representatives (“Plaintiff” or “Class
     2
     3   Representative”) seeks final approval of a Gross Settlement Fund (“GSF”) of Two
     3
     4   Million Seven Hundred and Fifty Thousand Dollars and Zero Cents
     4
     5   ($2,750,000.00) on behalf of the 5,984 Class Members1 employed by Defendants in
     5
     6   California during the period of February 25, 2016, through April 8, 2020. (“Class
     6
     7   Period”, “Settlement Class”). The Settlement was preliminarily approved on
     7
     8   March 2, 2021. [Dkt. No. 43.]. Pursuant to the Court's Preliminary Approval
     8
     9   Order, the Court-approved revised Notice of Class Action Settlement was
     9
    10   disseminated to the Class on April 21, 2021, informing them of their rights and
    10
    11   benefits under the Settlement and of the deadline to submit requests for exclusion
    11
    12   or objections. At the close of the deadline to act, two (2) Class Members
    12
    13   excluded themselves and zero Class Members objected to the Settlement. Following
    13
    14   the grant of final approval, and the effective date of Settlement, pursuant to the
    14
    15   terms of the Settlement, Settlement Class Members will receive an average
    15
    16   payment of approximately $281.77 and highest payment of approximately
    16
    17   $1,082.62. Declaration of Nathalie Hernandez Regarding Class Notification, Class
    17
    18   Notice, and overall settlement administration (“Hernandez Decl.”), ¶ 14 and Exhibit
    18
    19   A; James Hawkins Decl., “Hawkins Decl.” ¶ 5 ).
    19
    20            All but two of Class Members has embraced the Settlement as fair, adequate
    20
    21   and reasonable. Class Counsel request that the Settlement be finally approved, and
    21
    22   service awards, attorneys' fees and costs, and administrator's costs be awarded in
    22
    23   the requested amounts at preliminary approval and as identified in the Class
    23
    24   Notice.
    24
    25            II.   THE CLASS
    25
    26            A.    The Settlement Class
    26
    27
         1
             5,986 Class Members were provided the Class notice. Two (2) class members opt-
    28 out.
                                                   -1-
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   1          Pursuant to the Settlement, the “Class” or “Class Members” means all
   1
   2   current and former non-exempt employees of Defendant Sprint/United
   2
   3   Management Company who worked in Defendant’s retail stores in the State of
   3
   4   California during the Class Period of February 25, 2016, through April 8, 2020 (the
   4
   5   “Class Period”). There are 5,984 participating Settlement Class Members during the
   5
   6   Class Period with 2 Class Member exclusions and zero objections. (Hawkins
   6
   7   Decl.,Ex. 1, Settlement ¶ 2.5; Hernandez Decl., ¶ 14).
   7
   8         III.   MEDIATION AND SUMMARY OF PROPOSED
   8
   9                SETTLEMENT
   9
  10         A. Mediation.
  10
  11         After conducting comprehensive discovery, many meetings, and ongoing
  11
  12   exchanges of documents and information, and review of records, on December 10,
  12
  13   2019, the Parties participated in a mediation session before mediator Gig Kyriacou,
  13
  14   Esq., an experienced mediator who has mediated numerous wage-hour class
  14
  15   actions. At the conclusion of the mediation session, the Parties reach a settlement
  15
  16   for $2,750,000 to resolve the Parties’ dispute. The Parties then worked to arrive at
  16
  17   the final form of the Settlement Agreement that is now before this Court for final
  17
  18   approval. (Hawkins Decl. ¶¶ 6-10).
  18
  19         B.     The Settlement Terms
  19
  20         Upon the Court granting preliminary and then final approval of the
  20
  21   requested amounts, the following specific payments will be made from the GSF to
  21
  22   arrive at the NSA, which is the amount available for distribution to the Participating
  22
  23   Class Members (Settlement, ¶ 7):
  23
  24       Up to $5,000 allocated to Plaintiff as an enhancement for serving as Class
  24
  25         Representative. (Settlement, ¶ 7.2.1).
  25
  26       An amount of approximately $55,000 to be paid to ILYM Group, Inc.,
  26
  27         for serving as the Settlement Administrator in this action and to cover
  28         the cost of the Settlement Administration. (Settlement, ¶ 7.2.2).
                                                -2-
        MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR
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   1       $100,000 allocated to PAGA penalties, with 75% ($75,000) being paid to the
   1
   2         LWDA from the GSF and 25% ($25,000) remaining for pro rata distribution
   2
   3         to the Participating Class Members. (Settlement, ¶ 7.2.1).
   3
   4       An amount not to exceed one-third of the GSF,
   4
   5         or $916,666, in attorneys’ fees to James Hawkins APLC as
   5
   6         Class Counsel. (Settlement, ¶ 7.2).
   6
   7       Documented costs of $11,664.20 to Class Counsel. (Settlement, ¶ 7.2).
   7
   8          In the event the Court grants approval of these requested amounts, the total
   8
   9   NSA available to be paid to Participating Class Members will be approximately
   9
  10   $1,661,669. Any of the foregoing amounts not approved by the Court will be
  10
  11   added to the NSA. (Hernandez Decl., ¶ 14).
  11
  12          Class Members who do not exclude themselves will receive their
  12
  13   settlement payment. After deducting the amounts specified in Paragraph 7 of the
  13
  14   Settlement, each Class Members shall be entitled to a pro rata portion of the
  14
  15   remaining amount of the Gross Settlement Fund. Any Class Members who separated
  15
  16   their employment with Defendant between February 25, 2016 and April 8, 2020 will
  16
  17   be credited with an additional 5% of their Workweeks for the LC 203 claim. Any
  17
  18   individual who worked any time during the FLSA Period from February 25, 2016,
  18
  19   through and including April 8, 2020 and who did not timely and properly file and
  19
  20   complete an opt in form in the lawsuit Amaraut, et. al. v. Sprint/United
  20
  21   Management Company, USDC Case No.: 3:19-cv-00411- WQH-AHG, will be
  21
  22   credited with an additional 5% of their Workweeks. (Hawkins Decl. ¶ 15;
  22
  23   Settlement ¶ 7.2.4.).
  23
  24          The Settlement also provides that, because the Individual Settlement
  24
  25   Payments represent a compromise of claims for alleged unpaid wages, interest,
  25
  26   reimbursement and statutory penalties, for tax purposes all Individual Settlement
  26
  27   Payments will be allocated as follows: 2/3 shall be attributed to penalties and
  28   interest, to be reported on a 1099 Form; and 1/3 shall be attributed to wages subject
                                                -3-
        MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR
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   1   to all applicable payroll taxes, except for employer taxes, and will be reported on a
   1
   2   W-2 Form. Defendant will be separately responsible for the employer portion of
   2
   3   taxes allocated to wages separate and apart from the GSF. (Hawkins Decl.
   3
   4   Settlement ¶ 2.17).
   4
   5         IV.    PRELIMINARY APPROVAL AND CLASS NOTICE
   5
   6         On March 2, 2021, the Court found preliminarily the Settlement to be fair,
   6
   7   adequate and reasonable, and entered its Order Granting Plaintiff’s Motion for
   7
   8   Preliminary Approval of Class Action Settlement. [Dkt. No. 43].            The Court
   8
   9   approved the Notice of Class Action Settlement (“Notice”) with revisions to be
   9
  10   made and directed its distribution to the Class by first-class mail pursuant to the
  10
  11   terms of the Settlement.
  11
  12         On April 21, 2021, the Administrator mailed the Class Notice and Opt Out
  12
  13   form with revisions as ordered by the Court to all members of the Class.
  13
  14   (Hernandez Decl. ¶¶ 7-14; Ex. A). The Notice advised Class Members of (1) the
  14
  15   pendency of the Class Action; (2) of the Settlement terms; (3) of the automatic
  15
  16   payment of a proportionate share of the Settlement monies if the Class Members
  16
  17   did not request exclusion; (4) of the released claims; (5) of the estimated amount
  17
  18   each may expect to receive pursuant to the Settlement; (6) of their right to submit
  18
  19   objections or requests for exclusion and of the manner and timing for doing either
  19
  20   of these acts; (7) of the date and time set for the final approval hearing; and (8) the
  20
  21   right to appear at the final approval hearing. Id.
  21
  22         In response to the Class Notice, two (2) exclusions were received and there
  22
  23   zero objections. (Hernandez Decl. ¶¶ 12-13).
  23
  24         V.     FINAL APPROVAL OF THE SETTLEMENT SHOULD BE
  24
  25                GRANTED
  25
  26         A.     Class Settlements are Subject to Court Review and Approval
  26
  27         “A class action shall not be dismissed, settled, or compromised without the
  28 approval of the Court, and notice of the proposed dismissal, Settlement or
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        MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR
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   1   compromise shall be given as the Court directs.” Fed. R. Civ. P. Rule 23(e). A
   1
   2   class action Settlement is approved when the district court finds it is fair, adequate,
   2
   3   and reasonable. Rule 23(e) (1) (C); Staton v. Boeing Co., 327 F. 938, 952 (9th Cir.
   3
   4   2003).
   4
   5          B.    Class Action Settlement Approval Has Three Steps
   5
   6          Rule 23(e) Settlement approval includes three distinct steps: (1) preliminary
   6
   7   approval of the proposed Settlement; (2) dissemination of a notice of the
   7
   8   Settlement to the class; and, (3) a formal fairness hearing at which counsel may
   8
   9   introduce evidence and argument supporting the fairness, adequacy, and
   9
  10   reasonableness of the Settlement, and class members may be heard. Murillo v. Pac.
  10
  11   Gas & Elec. Co., 266 F.R.D. 468, 473 (E.D. Cal. 2010). This procedure safeguards
  11
  12   class members’ due process rights and enables the Court to fulfill its role as the
  12
  13   guardian of class interests. See William Rubenstein, Alba Conte & Herbert
  13
  14   Newberg, 4 Newberg on Class Actions (5th ed. 2014) (“Newberg”), §§ 13:39, et
  14
  15   seq.
  15
  16          The first two steps are now complete. The first step was completed on
  16
  17   March 2, 2021, when the Court preliminarily approved the Settlement. The
  17
  18   second step – dissemination of the Class Notice – was completed as described
  18
  19   above. The third and final step in the approval process is the final approval
  19
  20   hearing, at which the Court determines whether the Settlement is fair, adequate,
  20
  21   and reasonable.
  21
  22          C.    The Court Should Exercise Discretion and Approve This
  22
  23                Settlement
  23
  24          The decision whether a Settlement is fair, reasonable, and adequate is
  24
  25   committed to the Court’s sound discretion. Dunleavy v. Nadler, 213 F.3d 454, 458
  25
  26   (9th Cir. 2000) (citing Linney v. Cellular Alaska Partnership, 151 F.3d 1234, 1238
  26
  27   (9th Cir. 1998); Manual for Complex Litigation (4th ed. 2004) § 21.61 at 308,
  28 Officers for Justice v. Civil Serv. Comm’n. of the City and County of San
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   1   Francisco (9th Cir. 1982) 688 F. 2d 615, 625, cert. denied (1983) 459 U.S. 1217.)
   1
   2         Although the Court has discretion to determine whether a proposed class
   2
   3   Settlement is fair, the Ninth Circuit has “long deferred to the private consensual
   3
   4   decision of the parties.” Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965(9th
   4
   5   Cir. 2009) (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998)).
   5
   6   “[T]he court’s intrusion upon what is otherwise a private consensual agreement
   6
   7   negotiated between the parties to a lawsuit must be limited to the extent necessary
   7
   8   to reach a reasoned judgment that the agreement is not the product of fraud or
   8
   9   overreaching by, or collusion between, the negotiating parties, and that the
   9
  10   Settlement, taken as a whole, is fair, reasonable and adequate to all concerned.”
  10
  11   Officers for Justice v. Civil Serv.Comm’n, 688 F.2d 615, 625 (9th Cir. 1982). “[I]n
  11
  12   evaluating whether the Settlement is fair and adequate, the Court’s function is not
  12
  13   to second guess the Settlement’s terms.” Garner v. State Farm Auto Ins. Co., No.
  13
  14   CV 08 1365 CW (EMC), 2010 U.S. dist. Lexis 49477, *21 (N.D. Cal. Ap. 22,
  14
  15   2010).
  15
  16         A “[s]ettlement is the offspring of compromise; the question we address is
  16
  17   not whether the final product could be prettier, smarter or snazzier, but whether it
  17
  18   is fair, adequate and free from collusion.” Hanlon, 150 F.3d at 1027 (9th Cir.
  18
  19   1998).
  19
  20         D.     The Settlement is Fair, Adequate, and Reasonable
  20
  21         The Court’s determination of whether a proposed Settlement is fair,
  21
  22   adequate, and reasonable involves a balancing of factors. These factors may
  22
  23   include, among others: “the strength of plaintiff’s case; the risk, expense,
  23
  24   complexity, and the likely duration of further litigation; the risk of maintaining
  24
  25   class action status throughout the trial; the amount offered in Settlement; the extent
  25
  26   of discovery completed, and the stage of the proceedings; the experience and views
  26
  27   of counsel; the presence of a governmental participant; and the reaction of the
  28 Class Members to the proposed Settlement. This list is not exclusive and different
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   1   factors may predominate in different factual contexts.” Torrisi v. Tucson Elec.
   1
   2   Power Co., 8 F.3d 1370, 1375-76 (9th Cir. 1993) (citation omitted). Some of these
   2
   3   factors were addressed in the Preliminary Approval Motion and supporting briefs,
   3
   4   supplemental briefs and declarations. [Dkt. Nos. 37-42].
   4
   5         The law favors Settlement, particularly in class actions and other complex
   5
   6   cases, where substantial resources can be conserved by avoiding the time, cost, and
   6
   7   rigors of formal litigation. See Class Plaintiffs v. City of Seattle, 955 F.2d 1268,
   7
   8   1275 (9th Cir. 1992).
   8
   9         “In the Ninth Circuit, a court affords a presumption of fairness to a
   9
  10   Settlement if: ‘(1) the negotiations occurred at arm’s length; (2) there was
  10
  11   sufficient discovery; (3) the proponents of the Settlement are experienced in
  11
  12   similar litigation; and (4) only a small fraction of the class objected.’” (citation
  12
  13   omitted) Rodriguez v. West Publishing Corp., No. CV-05-3222 R(MCx) 2007
  13
  14   Rodriguez v. W. Pub. Corp., 2007 WL 2827379, at *7 (C.D. Cal. Sept. 10, 2007).
  14
  15         E. The Settlement Satisfies Ninth Circuit Final Approval Standards
  15
  16         At the preliminary approval stage, the Court was provided with information
  16
  17   satisfying all but the last and final Rodriquez factor. Based on that, the Court
  17
  18   preliminarily approved the Settlement as fair, adequate and reasonable. See, Order
  18
  19   Granting Preliminary Approval. [Dkt. No. 43.] The fourth factor, number of
  19
  20   objectors, is now satisfied with no objections and two (2) exclusions. (Hernandez
  20
  21   Decl. ¶¶ 11, 12).
  21
  22                1.     Strength of Plaintiff’s Case and the Risk, Expense,
  22
  23                       Complexity and Likely Duration of Further Litigation
  23
  24         While Plaintiff believes in the merits of the case, Plaintiff also recognizes the
  24
  25   inherent risks and uncertainty of litigation, including that the Class could receive
  25
  26   nothing, and understand the benefit of providing a significant settlement sum now.
  26
  27   The specific risks include: (i) a denial of certification; (ii) that the Court may later
  28 decertify a certified Class; (iii) the possibility of an unfavorable, or less favorable,
                                                 -7-
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   1   result at trial on the class or PAGA claims; (iv) the possibility post-trial motions
   1
   2   may result in an unfavorable, or less favorable, result at trial; and, (v) the possibility
   2
   3   of an unfavorable, or less favorable result on appeal, and the certainty that process
   3
   4   would be lengthy.
   4
   5          Throughout the negotiations and the litigation process in general, Plaintiff
   5
   6   recognized that the issues of liability and class certification presented significant
   6
   7   uncertainty and risk. Detailed analysis was provided in both the motion for
   7
   8   preliminary approval and here in the Hawkins Declaration. (Hawkins Decl. ¶¶ 12-
   8
   9   65).
   9
  10          Plaintiff and Class Counsel have given serious consideration to all facts and
  10
  11   arguments they face in this matter and have ensured a reasonable and realistic
  11
  12   settlement value based upon the discovery to date and strengths and weaknesses of
  12
  13   Plaintiff’s class claims. Id.
  13
  14          Plaintiff’s claims involve complex and disputed legal issues and fact-
  14
  15   specific arguments which the parties have litigated since the inception of the
  15
  16   action. While Plaintiff firmly believes in the strength of the claims, Defendants
  16
  17   have strong defenses to Plaintiff’s claims, and those defenses create a possibility
  17
  18   the claims might not be certified or fail on the merits. Id.
  18
  19          Absent the present Settlement, the further conduct of this litigation will
  19
  20   likely span several additional years and require the dedication of extensive
  20
  21   resources, if class certification was granted, to establish the merits of all class
  21
  22   claims at trial or through contested motion practice. Id.
  22
  23          The issues and arguments Class Counsel has encountered and overcome in
  23
  24   arriving at the parties’ negotiated settlement terms were many and complex, and
  24
  25   required skillful advocacy that can arise only out of experience, professional
  25
  26   perspective, and success. The claims asserted are the types of claims Defendants
  26
  27   have alleged depend upon highly individualized inquiries. Yet, Class Counsel has
  28 successfully advocated for an excellent resolution of claims that are complex,
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   1   evidence intensive, and nuanced, and can be very challenging to certify. Class
   1
   2   Counsel will also be required to dedicate significant time and resources to proving
   2
   3   the merits of the claims, prevailing on them at trial, and withstanding any appellate
   3
   4   challenges by Defendants. Class Counsel has invested substantial effort and
   4
   5   numerous hours in litigating this action through complex meet and confer efforts.
   5
   6   There is no doubt that future contested litigation will undoubtedly require continued
   6
   7   investment of significant time and resources of all parties and the Court. Id.
   7
   8          If Settlement were not achieved, continued litigation would take substantial
   8
   9   time and possibly confer no benefit on Class Members. There were many hurdles
   9
  10   Plaintiff will have to navigate to obtain class-wide relief.         By contrast, the
  10
  11   Settlement will yield a prompt, certain, and substantial recovery for Class
  11
  12   Members, which also benefits the Parties and the Court. Id. In light of these
  12
  13   uncertainties, the Parties agreed to a compromise of a very reasonable non-
  13
  14   reversionary settlement. This recovery is certain and substantial for absent Class
  14
  15   Members. The alternative is class members are left with nothing.
  15
  16                2.    The Stage of Proceedings and Extent of Discovery Support
  16
  17                      Settlement
  17
  18         As detailed in the Motion for Preliminary Approval, [Dkt. Nos. 37, 42] and
  18
  19   incorporated by this reference, the Parties thoroughly investigated and evaluated the
  19
  20   case and engaged in sufficient investigation and discovery to support the
  20
  21   Settlement. (Hawkins Decl. ¶¶ 12-65). The discovery enabled the parties to have a
  21
  22   clear view of the strengths and weaknesses of their cases sufficient to support the
  22
  23   Settlement. Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979).
  23
  24         With extensive exchange of discovery completed and analyzed, and the
  24
  25   mediation with experienced wage and hour class action mediator, the procedural
  25
  26   history of this case supports Settlement. (Hawkins Decl. ¶¶ 7-11).
  26
  27                3.    The Experience and Views of Counsel
  28         “Great weight” is accorded to the recommendation of counsel, who are
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   1   most closely acquainted with the facts of the underlying litigation…This is because
   1
   2   ‘parties represented by competent counsel are better positioned than courts to
   2
   3   produce a Settlement that fairly reflects each party’s expected outcome in the
   3
   4   litigation.’” (internal citations omitted) Nat’l Rural Telecomms. Coop. v.
   4
   5   DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004).
   5
   6         Class Counsel, James Hawkins APLC has significant experience in litigating
   6
   7   wage cases, and rest and meal period cases, misclassification cases, and other wage
   7
   8   and hour and consumer class actions and have obtained certification and settlement
   8
   9   approval in many such cases. (Hawkins Decl. ¶ 6711).
   9
  10         Experienced counsel, operating at arm’s-length, have weighed the strengths
  10
  11   of the case and examined all of the issues and risks of litigation and endorse the
  11
  12   proposed Settlement. The view of the attorneys actively conducting the litigation
  12
  13   “is entitled to significant weight” in deciding whether to approve the Settlement.
  13
  14   Fisher Bros. v. Cambridge Lee Industries, Inc. (E.D. Pa. 1985) 630 F.Supp. 482,
  14
  15   488; Ellis v. Naval Air Rework Facility (N.D. Cal. 1980) 87 F.R.D. 15, 18, aff’d.
  15
  16   661 F.2d 939 (9th Cir. 1981). “The recommendations of plaintiffs’ counsel should
  16
  17   be given a presumption of reasonableness.” In re Omnivision Technologies, Inc.,
  17
  18   (N.D. Cal. 2007), 559 F. Supp. 2d 1036, 1043, citing Boyd v. Bechtel Corp., supra,
  18
  19   485 F.Supp. 610, 622.)
  19
  20         Class Counsel, having prosecuted numerous wage and hour class action
  20
  21   cases, are experienced and qualified to evaluate the Class claims and to evaluate
  21
  22   the risks and potential outcome of further litigation and the propriety of Settlement
  22
  23   on a fully-informed basis. Id. Counsel view this is a fair and reasonable Settlement
  23
  24   in light of the complexities of the case, the ever changing state of the law, and of
  24
  25   the uncertainties of the outcome of class certification and further litigation. The
  25
  26   opinion of counsel in support of the proposed Settlement is based on a realistic
  26
  27   assessment of the strengths and weaknesses of their respective cases, extensive
  28 legal and factual research and substantial discovery.             Further, the Court
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   1   preliminarily deemed Class Counsel adequate. Id.
   1
   2         The opinion of counsel is further based on an assessment of the risks of
   2
   3   proceeding with the litigation through trial and, if a verdict were recovered,
   3
   4   through appeal, as compared to the value of a settlement at this time. Given the
   4
   5   risks inherent in litigation and the defenses asserted herein, this Settlement is fair,
   5
   6   adequate, and reasonable and in the best interests of the Class and should receive
   6
   7   final approval.
   7
   8                4.     Objections and Reaction to the Settlement
   8
   9         The deadline to postmark an opt out request or an objection expired on June
   9
  10   5, 2021. Zero (0) objections have been received by the Administrator, by Counsel
  10
  11   for the Parties, or filed with the Court through the present and only two (2) Class
  11
  12   Members timely opted out. (Hernandez Decl. ¶¶ 11, 12). The Court has already
  12
  13   considered and preliminarily approved the reasonableness of the overall settlement
  13
  14   value in its March 2, 2021 order granting preliminary approval. The absence of
  14
  15   objections supports a strong presumption of fairness and that the Settlement is fair,
  15
  16   adequate and reasonable. Martin v. AmeriPride Servcs., 2011 U.S. Dist. Lexis
  16
  17   61796 at *21 (S.D. Cal. June 9, 2011); see also In re: Omnivision Techs., 559 F.
  17
  18   Supp.2d, 1036, 1043 (N.D. Cal. 2007), (“By any standard, the lack of objection of
  18
  19   the Class Members favors approval of the Settlement.”); see also Brown v.
  19
  20   American Honda Motor Co., Inc., 2010 U.S. Dist. Lexis 145475, at *49 (C.D. Cal.
  20
  21   July 29, 2010) (“The comparatively low number of opt-outs … indicates that
  21
  22   generally, class members favor the proposed settlement and find it fair.” The lack
  22
  23   of objections or small number of objections provides persuasive evidence of its
  23
  24   reasonableness. Boyd v. Bechtel Corp., 485 F. Supp. 610, 624 (N.D. Cal. 1979).
  24
  25         The Class Members have overwhelmingly embraced and approved the
  25
  26   proposed Settlement. None of the Class Members objected and two (2) Class
  26
  27   Members elected to opt-out. (Hernandez Decl., ¶¶ 11, 12).
  28         Class Counsel is convinced the Settlement continues to remain fair and
                                                - 11 -
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   1   reasonable and is in the best interest of the Class based on a detailed knowledge of
   1
   2   the issues presented in this action and the negotiations. The length and risks of trial
   2
   3   and perils of litigation already suffered in this action and in related actions, that
   3
   4   affect the value of the claims were all carefully weighed. In addition, the
   4
   5   affirmative defenses asserted by Defendants, the difficulties of complex litigation,
   5
   6   the lengthy process of establishing specific damages and various possible delays
   6
   7   and appeals, were also carefully considered by Class Counsel in arriving at the
   7
   8   proposed Settlement. (Hawkins Decl. ¶¶ 12-65). Class Counsel respectfully
   8
   9   requests the Court find the proposed Settlement to be fair, adequate and reasonable
   9
  10   and grant final approval and enter final judgment accordingly.
  10
  11      VI.     THE COURT SHOULD APPROVE THE REQUESTED
  11
  12              ATTORNEYS’ FEES AND LITIGATION EXPENSES AND THE
  12
  13              CLASS REPRESENTATIVE ENHANCEMENT PAYMENT
  13
  14         A.     A Percentage Fee Award is Warranted
  14
  15         In a diversity action such as this under the Class Action Fairness Act, federal
  15
  16   courts apply state law to determine both the right to fees and the method of
  16
  17   calculating them. See Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9thx Cir.
  17
  18   2002); Mangold v. California Public Utils. Comm'n, 67 F.3d 1470, 1478 (9th cir.
  18
  19   1995); Emmons v. Quest Diagnostics Clinical Labs., Inc., 2017 U.S. Dist. LEXIS
  19
  20   272249 (E.D. Cal. 2017).
  20
  21         The California Supreme Court recently affirmed that trial courts properly
  21
  22   grant attorneys' fees in a common fund case based on a percentage of the recovery.
  22
  23   Laffitte v. Robert Half International, Inc., 1 Cal.5th 480, 503 (2016). A fee award
  23
  24   based on a percentage of the common fund recovery here is proper as it spreads the
  24
  25   attorneys' fees among all beneficiaries of the fund, aligns the incentives between
  25
  26   Plaintiffs' counsel and the Class, is a better approximation of the market conditions
  26
  27   in a contingency case, and encourages class counsel to seek early settlement and
  28 avoid unnecessarily prolonging the litigation. Id. The Court also approved the use
                                             - 12 -
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   1   of a lodestar cross-check at the option of the trial court to double check "the
   1
   2   reasonableness of the percentage fee through a lodestar calculation." Id. at 504.
   2
   3          Given that the Supreme Court declined to adopt a 25% benchmark, it would
   3
   4   seem that such a benchmark should no longer apply in federal court, either, in cases
   4
   5   in which California law governs the fee motion. In Vizcaino, the lead Ninth Circuit
   5
   6   decision adopting the 25% benchmark, both the claims and the fee motion were
   6
   7   governed by Washington law, and the Ninth Circuit relied on a Washington
   7
   8   Supreme Court decision in which a 25% benchmark was adopted. Vizcaino, 290
   8
   9   F.3d at 1047 (citing Bowles v. Dep't of Ret. Sys., 847 P.2d 440, 451 (Wash. 1993)).
   9
  10   After Laffitte, there is no reason for the Ninth Circuit to continue to apply this
  10
  11   benchmark in cases governed by California law where this Court sits.
  11
  12         With the guiding principle that even early class action settlements are
  12
  13   favored and may not diminish an award of attorneys’ fees, Class Counsel submits
  13
  14   the 1/3 fee request should be awarded, in light of the hours expended to achieve
  14
  15   this result, the litigation risks and complexities of prosecuting these types of cases,
  15
  16   the contingent nature of the fee, their experience in handling cases of this type, the
  16
  17   fees commonly awarded in these cases, and the vindication of the Class’ rights.
  17
  18         To the extent these state law claims can be measured against the Ninth
  18
  19   Circuit benchmark, the payment of back wages and increased post-settlement
  19
  20   wages to Class Members, among other facts, support an upward departure from a
  20
  21   25% fee award. Indeed, the California Supreme Court in Robert Half recognized
  21
  22   the Ninth Circuit's 25% benchmark but did not adopt a benchmark for awarding
  22
  23   common fund attorney fees under California law. Laffitte v. Robert Half Internat.,
  23
  24   Inc., supra, 1 Cal.5th at 495, 503-06. This is a California Class, dealing with
  24
  25   California Law, as such is reasonable to apply California Supreme Court
  25
  26   jurisprudence in which this Court sits for purposes of awarding fees.
  26
  27         The Ninth Circuit common fund principles also support a percentage award
  28 here. This common fund doctrine applies when: (1) the class of beneficiaries is
                                        - 13 -
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   1   sufficiently identifiable; (2) the benefits can be accurately traced; and, (3) the fee
   1
   2   can be shifted with some exactitude to those benefitting. Paul, Johnson, Alston &
   2
   3   Hunt v. Graulty, 886 F.2d 268, 271 (9th Cir. 1989). These criteria are easily met
   3
   4   when each member of the class has an “undisputed and mathematically
   4
   5   ascertainable claim” to part of a lump-sum settlement recovered on his behalf. Id.
   5
   6   at 271, citing Boeing, 444 U.S. at 479. These factors are met here.
   6
   7         First, the class of beneficiaries is identifiable. The Parties identified the
   7
   8   Class from Defendants’ employment records and provided the Court-approved
   8
   9   revised Notice to them. Second, the benefits are easily traceable. The benefits
   9
  10   consist entirely of monetary payments to each Class Member upon final approval
  10
  11   of the Settlement. Each Class Member has an “undisputed and mathematically
  11
  12   ascertainable claim” to a share of the Settlement based on the time worked over the
  12
  13   class period. Third, the fee can be precisely shifted because it is a specific
  13
  14   percentage of the Settlement benefit each Class Member receives.
  14
  15         Historically, attorneys’ fee awards have ranged from 20% to 50% of the
  15
  16   total settlement, depending on the circumstances of the case. Newberg on Class
  16
  17   Actions, § 15:83. Though the Ninth Circuit established a “benchmark” fee of 25%
  17
  18   in common fund cases, the exact percentage varies depending on the facts of the
  18
  19   case and, in "most common fund cases, the award exceeds that benchmark."
  19
  20   Vasquez v. Coast Valley Roofing, Inc. 266 F.R.D. 482, 491 (E.D. Cal. 2010); In Re
  20
  21   Activision Sec. Litig. 723 F. Supp. 1373, 1377 (N.D. Cal. 1989) ("[a] review of
  21
  22   recent reported cases discloses that nearly all common fund awards range around
  22
  23   30%"); In Re Omnivision Techs., 559 F. Supp.2d 1036, 1047.
  23
  24         District courts in California have held the percentage method is far
  24
  25   preferable to the lodestar method because: (1) it aligns the interests of Class
  25
  26   Counsel and the Class; (2) it encourages efficient resolution of the litigation by
  26
  27   providing an incentive for early, yet reasonable, settlement; and, (3) it reduces the
  28 demands on judicial resources. In Re Oracle Secs. Litig., 131 F.R.D. 688, 689
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   1   (N.D. Cal. 1990) (Walker, J.) (noting the lodestar method has been “thoroughly
   1
   2   discredited by experience”); In Re Activision Secs. Litig., 723 F.Supp. 1373, 1375,
   2
   3   1378-79.
   3
   4           Accordingly, Plaintiff seeks a percentage award of 1/3 of the GSF.
   4
   5           B.    One-Third of the Common Fund Is a Reasonable Fee
   5
   6           "In common fund cases, attorneys whose compensation depends on their
   6
   7   winning the case must make up in compensation in the cases they win for the lack
   7
   8   of compensation in the cases they lose." Vizcaino v. Microsoft Corp., 290 F.3d at
   8
   9   1051.
   9
  10           Some courts have found that an award of 33% of a common fund represents
  10
  11   the "benchmark" when applying California law in diversity cases. Smith v. CRST
  11
  12   Van Expedited, Inc., 10-CV-1116-IEG WMC, 2013 WL 163293, at *5 (S.D. Cal.
  12
  13   Jan. 14, 2013) ("These percentages compare favorably with both California (33%)
  13
  14   and federal (25%) benchmarks."); Dennis v. Kellog Co., 09-CV-1786-L WMC,
  14
  15   2013 WL 6055326, at *7 (S.D. Cal. Nov. 14, 2013).
  15
  16           Several studies have found the median common fund fee award is
  16
  17   approximately one-third of the total settlement fund. See, e.g., Chavez v. Netflix,
  17
  18   Inc. 162 Cal. App. 4th 42, 66, n. 11 (2008) (numerous studies show "fee awards in
  18
  19   class actions average around one-third of the recovery."); Reagan W. Silber and
  19
  20   Frank E. Goodrich, Common Funds and Common Problems: Fee Objections and
  20
  21   Class Counsel's Response, 17 Rev. Litig. 525, 546 (1998); T. Willing, L. Hooper
  21
  22   and R. Niemic, Empirical Study of Class Actions in Four Federal District Courts:
  22
  23   Final Report to the Advisory Committee on Civil Rules, 90 (1996) (finding
  23
  24   attorneys' fees in class litigation "were generally in the traditional range of
  24
  25   approximately one-third of the total settlement").
  25
  26           Attorneys’ fees in the amount of 33-1/3% or more of the common fund are
  26
  27   commonly awarded in the Central District. Karapetyan v. ABM Indus., No. 2:15-cv-
  28 08313-GW-E, 2015 U.S. Dist. LEXIS 24210 (C.D. Cal. Sept. 7, 2017) (awarding
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   1   33-1/3% in $5,000,000 wage and hour class action); Aguirre v. Genesis Logistics,
   1
   2   Inc., No. 8:12-cv-00687-JVS-KES, 2014 U.S. Dist. LEXIS 184617 (C.D. Cal. Nov.
   2
   3   29, 2017) (awarding 33-1/3% in $7,000,000 wage and hour class action); Grillo v.
   3
   4   Key Energy Services, LLC, No. 2:14-cv-000881-AB-AGR, 2017 U.S. Dist. LEXIS
   4
   5   42682 (C.D. Cal. Oct. 13, 2017) (awarding 33-1/3% in $3,000,000 wage and hour
   5
   6   class action); and Shiferaw v. Sunrise Senior Living Management, Inc., No. 2:13-cv-
   6
   7   02171-JAK-PLA, 2016 U.S. Dist. LEXIS 187548 (C.D. Cal. Jul. 17, 2017)
   7
   8   (awarding 33-1/3% in $2,180,000 wage and hour class action). (Hawkins Decl. ¶
   8
   9   69, 70).
   9
  10         Class Counsel’s request for attorneys' fees of one-third of the GSF, is
  10
  11   justified under the facts of this case for undertaking complex, risky, expensive and
  11
  12   time-consuming litigation on a contingency fee basis. In re Pacific Enterprises
  12
  13   Security Litigation, 47 F.3d 373, 379, (1995 U.S. App. LEXIS 2330); In re
  13
  14   Activision Securities Litigation, 723 F. Supp. at 1375.
  14
  15         Class Counsels’ expertise in class actions weighed heavily in obtaining a
  15
  16   benefit to each member of the Class. The settlement negotiations followed the
  16
  17   Parties’ exchange of sufficient discovery on merits and class discovery.
  17
  18         Given the complexities and uncertainties of continuing to litigate these
  18
  19   cases, the requested fees are warranted. “Indeed, one purpose of the percentage
  19
  20   method is to encourage early settlements by not penalizing efficient counsel,
  20
  21   ensuring that competent counsel continue to be willing to undertake risky,
  21
  22   complex, and novel litigation.” Manual for Complex Litigation (Fourth), § 14.121,
  22
  23   p. 193.
  23
  24         This is not a case where a substantial settlement and a recovery of a large
  24
  25   attorneys’ fee was a foregone conclusion. See Deposit Guar. Nat’l Bank v. Roper,
  25
  26   445 U.S. 326, 338-339 (1980) (recognizing the importance of a financial incentive
  26
  27   to entice qualified attorneys to devote their time to complex, time-consuming cases
  28 in which they risk nonpayment). In light of the risks of loss at any stage of this
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   1   litigation, i.e., denial of Rule 23 certification, an unfavorable result on the merits of
   1
   2   a summary judgment or at trial and/or appeal, the recovery for the Class, or
   2
   3   attorneys’ fees, was never a foregone conclusion.
   3
   4         C.     Ninth Circuit Factors for Evaluating Reasonableness of the Fee
   4
   5   Request
   5
   6         Whether the Court uses the common fund or the lodestar method, the main
   6
   7   inquiry is whether the end result is reasonable. Powers v. Eichen, 229 F.3d 1249,
   7
   8   1258 (9th Cir. 2000). The Ninth Circuit has articulated five factors as pertinent
   8
   9   criteria for evaluating the reasonableness of a fee request: (1) the results achieved;
   9
  10   (2) the risk of litigation; (3) the skill required and the quality of the work; (4) the
  10
  11   contingent nature of the fee and the financial burden carried by the Plaintiffs; and
  11
  12   (5) awards made in similar cases. See Vizcaino v. Microsoft Corp., 290 F.3d 1043,
  12
  13   1048-50 (9th Cir. 2002).
  13
  14                1.     The Results Achieved Support the Fee Request
  14
  15         One factor to be considered in granting a fee award is the success obtained.
  15
  16   In re Heritage Bond Litig. v. U.S. Trust Co. of Tex., N.A., No. 02-ML-1475 (RCx),
  16
  17   2005 U.S. Dist. LEXIS 13627, at *27 (C.D. Cal. June 10, 2005) (citing Hensley v.
  17
  18   Eckerhart, 461 U.S. 424 (1983)). In the face of the uncertainties associated with
  18
  19   continued litigation on Plaintiffs’ claims, and Defendant's vigorous denials and
  19
  20   affirmative defenses, there is no question that the results achieved are more than
  20
  21   fair, adequate and reasonable to the Class. Class Counsel successfully negotiated a
  21
  22   common fund of $2,750,000 (inclusive of attorneys’ fees and costs) for Class
  22
  23   Members who were unlikely to have ever received any compensation or redress.
  23
  24         A Settlement must not be judged against a speculative measure of what
  24
  25   might have been achieved, nor does the settlement have to provide 100% of the
  25
  26   damages to be fair and reasonable. Linney v. Cellular Alaska Pshp, 151 F.3d 1234,
  26
  27   1242 (9th Cir. 1998), In re Mego Fin. Corp. Sec. Litig., 213 F. 3d 454, 459 (9th
  28 Cir. 2000). When analyzing the amount offered in settlement, the court should
                                        - 17 -
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   1   examine “the complete package taken as a whole,” and the amount is not to be
   1
   2   judged against a hypothetical or speculative measure of what might have been
   2
   3   achieved by the negotiators.” Officers for Justice v. Civil Serv. Comm'n. of the City
   3
   4   and County of San Francisco, 688 F.2d 615, 625, 628 (9th Cir. 1982). The
   4
   5   adequacy of the amount recovered must be judged as “a yielding of
   5
   6   absolutes…Naturally, the agreement reached normally embodies a compromise; in
   6
   7   exchange for the saving of cost and elimination of risk, the parties each give up
   7
   8   something they might have won had they proceeded with litigation ...” Id. at 624
   8
   9   (citation omitted), "[I]t is well-settled law that a cash settlement amounting to only
   9
  10   a fraction of the potential recovery does not ... render the settlement inadequate or
  10
  11   unfair," Id. at 628. Class Counsel submits that the Settlement provides a reasonable
  11
  12   recovery for the Class and that this factor strongly supports approving the fee
  12
  13   request.
  13
  14                2.    Strength of Plaintiff’s Case and the Risk, Expense,
  14
  15                      Complexity and Likely Duration of Further Litigation
  15
  16         As previously discussed thoroughly, Plaintiff believes in the merits of the
  16
  17   case, but recognizes the inherent risks and uncertainty of litigation and understands
  17
  18   the benefits of providing significant payments to the Class now with the risks of
  18
  19   class certification, a risk of an unfavorable appeal, an unfavorable summary
  19
  20   judgment ruling, and other risks in complex litigation generally.
  20
  21                3.    The Contingent Nature of the Fee and the Financial Burden
  21
  22                      Carried
  22
  23         "[A]n attorney should be compensated both for services rendered and for the
  23
  24   risk of loss or nonpayment assumed by accepting and prosecuting the case." In re
  24
  25   Quantum Health Resources, Inc. 962 F. Supp. 1254, 1257 (1997).
  25
  26         Class Counsel undertook all of the risks of this litigation on a contingent fee
  26
  27   basis. They accepted the risks of dispositive motions, obtaining and maintaining
  28 certification, proving liability and damages at trial, and surviving post-trial
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   1   motions and appeals. Plaintiff faced the risk of litigating this case for years and
   1
   2   spending hundreds of thousands of dollars in attorney and staff time and costs, or
   2
   3   more, without pay or reimbursement. To meet their responsibility to the Class,
   3
   4   Class Counsel had to assure at all times they had sufficient resources to prosecute
   4
   5   this action.
   5
   6          Many contingent fee cases result in no compensation to plaintiff's counsel
   6
   7   because cases are dismissed at the pleadings stage, lost at certification, summary
   7
   8   judgment or after a trial on the merits, or reversed on appeal. Many hard-fought
   8
   9   lawsuits ultimately produce no fee because of the discovery of facts unknown
   9
  10   when the case was commenced, changes in the law while the case was pending, or
  10
  11   decisions of judges or juries following a trial on the merits, despite the tremendous
  11
  12   efforts by plaintiff's counsel. Here, Plaintiff was able to obtain a substantial
  12
  13   settlement given all the risks.
  13
  14          District Courts within the Ninth Circuit recognize that “[t]he rationale
  14
  15   behind awarding a percentage of the fund to counsel in common fund cases is the
  15
  16   same that justifies permitting contingency fee arrangements in general.” In re
  16
  17   Quantum Health Resources, Inc. Sec. Litig., 962 F. Supp. at 1257 (citing Skelton v.
  17
  18   General Motors Corp., 860 F. 2d 250, 252 (7th Cir. 1988). “The underlying
  18
  19   premise is the existence of risk—the contingent risk of non-payment.” In re
  19
  20   Quantum Health Resources, Inc., supra at 1257. Because payment is contingent
  20
  21   upon receiving a favorable result for the class, an attorney should be compensated
  21
  22   both for services rendered and for the risk of loss or nonpayment assumed by
  22
  23   accepting and prosecuting the case.” Id. (citing, 1 Alba Conte, Attorney Fee
  23
  24   Awards (3d ed. 2004) § 1.09).
  24
  25          Unlike counsel for Defendants, who are regularly paid a fair-market hourly
  25
  26   rate, Class Counsel received no compensation for their services for over nine years
  26
  27   and have received no reimbursement of the expenses required to prosecute this
  28 case. Indeed, as an example, Plaintiff’s counsel has litigated successfully a case
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   1   after 15 years, and another one unsuccessfully for 12 years. There are the real risks
   1
   2   of loss of time and costs associated with contingency cases, all without recourse in
   2
   3   such cases. The Court should consider the risks of contingency cases as a whole in
   3
   4   awarding the requested fees. The contingent nature of the representation, and the
   4
   5   risks of this litigation, fully warrant judicial approval of the fee request.
   5
   6                4.     Awards in Similar Cases
   6
   7         The requested fee falls in the mid-range of common fund fee awards, which
   7
   8   range from 20% to 50%, and is fair compensation for undertaking complex, risky,
   8
   9   expensive, and time-consuming litigation.
   9
  10         Courts often look to fees awarded in comparable cases to determine if the
  10
  11   fee requested is reasonable. Vizcaino, 290 F.3d at 1050 n.4. In analogous wage and
  11
  12   hour lawsuits and settlements, the Central District Courts have awarded attorneys’
  12
  13   fees in amounts equal to or greater than Class Counsel’s fee request. Karapetyan v.
  13
  14   ABM Indus., No. 2:15-cv-08313-GW-E, 2015 U.S. Dist. LEXIS 24210 (C.D. Cal.
  14
  15   Sept. 7, 2017) (awarding 33-1/3% in $5,000,000 wage and hour class action);
  15
  16   Aguirre v. Genesis Logistics, Inc., No. 8:12-cv-00687-JVS-KES, 2014 U.S. Dist.
  16
  17   LEXIS 184617 (C.D. Cal. Nov. 29, 2017) (awarding 33-1/3% in $7,000,000 wage
  17
  18   and hour class action); Grillo v. Key Energy Services, LLC, No. 2:14-cv-000881-
  18
  19   AB-AGR, 2017 U.S. Dist. LEXIS 42682 (C.D. Cal. Oct. 13, 2017) (awarding 33-
  19
  20   1/3% in $3,000,000 wage and hour class action); Shiferaw v. Sunrise Senior Living
  20
  21   Management, Inc., No. 2:13-cv-02171-JAK-PLA, 2016 U.S. Dist. LEXIS 187548
  21
  22   (C.D. Cal. Jul. 17, 2017) (awarding 33-1/3% in $2,180,000 wage and hour class
  22
  23   action); Boyd v. Bank of America Corp., 2014 U.S. Dist. 162880 at *22 (C.D. Cal.,
  23
  24   Nov. 18, 2014) (awarding 33-1/3% in $5,800,000 wage and hour class action); and
  24
  25   Taylor v. Shippers Transp. Express, Inc., No. CV1302092BROPLAX, 2015 WL
  25
  26   12658458, at *17 (C.D. Cal. May 14, 2015) (awarding one-third of the
  26
  27   $11,040,000 Maximum settlement amount in a wage and hour class action).
  28         If this were individual litigation, the customary fee arrangement would be
                                                 - 20 -
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   1   one-third to 40% of the recovery2. Class Counsel’s fee request is in line with
   1
   2   awards in similar cases. This factor also supports Class Counsel’s fee request. See
   2
   3   Section VI.B., supra.
   3
   4                5.     The Reaction of the Class Supports the Fee Request
   4
   5          District courts in the Ninth Circuit may also consider the reaction of the
   5
   6   Class when deciding whether to award the requested fee. In Re Heritage Bond,
   6
   7   2005 U.S. Dist. LEXIS 13627, at *48 (“The presence or absence of objections
   7
   8   from the class is also a factor in determining the proper fee award.”). Here, the
   8
   9   Notice stated the total amount the Class, and each member, would receive in
   9
  10   settlement, Class Counsel's intention to request 1/3 of the GSA in attorneys' fees,
  10
  11   and provided the manner and deadline to file objections. At the close of the
  11
  12   deadline, not a single Class Member had objected. (Hernandez Decl., ¶¶ 11, 12).
  12
  13   The absence of objections supports the fee request.
  13
  14          D.    Although Not Required, Class Counsel’s Fee Request is
  14
  15                Reasonable when Cross-Checked With the Lodestar
  15
  16          Class Counsel seek approval of a fee on a percentage of the common fund
  16
  17   recovery, not a lodestar. While a percentage fee may be cross-checked against a
  17
  18   lodestar increased by a risk multiplier, courts are not required to engage in this
  18
  19   exercise, and many California district courts decline to do so. See, e.g., Glass v.
  19
  20   UBS Financial Services, Inc., No. 06-4066-MMC, 2007 WL 221862 (N.D. Cal.
  20
  21   Jan. 26, 2007) (finding "no need to conduct a lodestar cross-check [as] [c]lass
  21
  22   counsel's prompt action in negotiating a settlement while the state of the law
  22
  23   remained uncertain should be fully rewarded"); Lopez v. Youngblood, No. 07-
  23
  24   0474-DLB, 2011 WL 10483569 (E.D. Cal. Sep. 2, 2011) ("A lodestar cross-check
  24
  25   is not required in this circuit, and in a case such as this, is not a useful reference.")
  25
  26          Where the cross-check is used, the “calculation need entail neither
  26
  27
         Plaintiff signed a retainer agreement providing for an attorneys' fee of 33-1/3%
          2

  28 of any recovery achieved.
                                                  - 21 -
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   1   mathematical precision nor bean-counting” and is not intended to be a “full-blown
   1
   2   lodestar inquiry.” “Where the use of the lodestar method is used as a cross-check,
   2
   3   it can be performed with a less exhaustive cataloguing and review of counsel’s
   3
   4   hours.” Barbosa v. Cargill Meat Solutions Corp, 297 F.R.D. 431, 451 (E.D. Cal.
   4
   5   July 2, 2013).
   5
   6         The lodestar method is calculated by multiplying the number of hours
   6
   7   reasonably expended on the litigation by a reasonable hourly rate. Staton, 327
   7
   8   F.3d at 965. A reasonable hourly rate is the prevailing rate charged by attorneys of
   8
   9   similar skill and experience in the relevant community. PLCM Group, Inc. v.
   9
  10   Drexler, 22 Cal. 4th 1084, 1095 (2000); Hopson v. Hanesbrands Inc., 2009 U.S.
  10
  11   Dist. LEXIS 33900 (N.D. Cal. Apr. 3, 2009).
  11
  12         Class Counsel have hours of attorney and para-professional time prosecuting
  12
  13   the case resulting in a lodestar fee of $361,390. The hours expended were
  13
  14   reasonable in light of the complexity of the litigation. (Hawkins Decl. ¶¶ 70-72,
  14
  15   Exh. 2).
  15
  16                1.    Class Counsel’s Hourly Rates Are Reasonable
  16
  17         Class Counsel is entitled to hourly rates charged by attorneys of comparable
  17
  18   experience, reputation, and ability for similar litigation. Ketchum v. Moses, 24
  18
  19   Cal.4th 1122, 1133 (2001); Children’s Hospital and Med. Center v. Bonta, 97 Cal.
  19
  20   4th 740, 783 (2002) (affirming rates that were “within the range of reasonable rates
  20
  21   charged by and judicially awarded comparable attorneys for comparable work”).
  21
  22   When determining a reasonable hourly rate, Courts may consider factors such as
  22
  23   the attorney’s skill and experience, the nature of the work performed, the relevant
  23
  24   area of expertise and the attorney’s customary billing rates. Flannery v. California
  24
  25   Highway Patrol, 61 Cal. App. 4th 629, 632 (1998). Prior determinations of
  25
  26   counsel’s rates are strong evidence of their reasonableness. See Margolin v.
  26
  27   Regional Planning Commission, 134 Cal.App.3d 999, 1005 (1982).
  28         Class Counsel’s skill and experience support their hourly rates, ranging from
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   1   $850 to $900, which are in line with rates typically approved in wage and hour
   1
   2   class action litigation in California and have been specifically approved by
   2
   3   numerous state and federal courts in California. Counsel's practice is limited
   3
   4   exclusively to litigation, focusing on the representation of employees and
   4
   5   consumers in wage and hour and consumer class action matters and have been
   5
   6   appointed Class Counsel or co-Class Counsel in many of these cases. (Hawkins
   6
   7   Decl. ¶¶ 69-74). Plaintiff’s counsel continually monitors the prevailing market
   7
   8   rates charged by both defense and plaintiff law firms and set the billing rates of
   8
   9   their attorneys and paralegals/law clerks to follow the prevailing market rates in
   9
  10   the private sector for attorneys and staff of comparable skill, qualifications and
  10
  11   experience.
  11
  12                 2.   Class Counsel’s Total Hours are Reasonable
  12
  13         Hours are reasonable if “at the time rendered, [they] would have been
  13
  14   undertaken by a reasonable and prudent lawyer to advance or protect his client’s
  14
  15   interest.” Moore v. Jas. H. Matthews & Co., 682 F.2d 830, 839 (9th Cir. 1982).
  15
  16   “[T]he standard is whether a reasonable attorney would have believed the work to
  16
  17   be reasonably expended in pursuit of success at the point in time when the work
  17
  18   was performed.” Wooldridge v. Marlene Industries Corp., 898 F.2d 1169, 1177
  18
  19   (6th Cir. 1990); see also, Norman v. Housing Auth., 836 F.2d 1292, 1306 (11th
  19
  20   Cir. 1988) (“The measure of reasonable hours is determined by the profession’s
  20
  21   judgment of the time that may be conscionably billed and not the least time in
  21
  22   which it might theoretically have been done”). The time spent by Class Counsel on
  22
  23   this litigation was necessary and reasonable.
  23
  24         E.      Class Counsel’s Litigation Expenses Should be Reimbursed
  24
  25         “There is no doubt that an attorney who has created a common fund for the
  25
  26   benefit of the class is entitled to reimbursement of reasonable litigation expenses
  26
  27   from that fund.” West v. Circle K Stores, Inc., No. Civ. S-04-0438, 2006 U.S. Dist.
  28 LEXIS 76558, at *25 (E.D. Cal. Oct. 19, 2006).
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   1         Class Counsel incurred costs of $11,664.20 to successfully prosecute this
   1
   2   Action. (Hawkins Decl. ¶ 75, Ex. 3).           These expenses were incidental and
   2
   3   necessary to the effective representation of the Class. See Harris v. Marhoefer, 24
   3
   4   F.3d 16, 19 (9th Cir. 1994); In Re DJ Orthopedics, Inc. Secs. Litig., No. 01-CV-
   4
   5   2238-K (RBB), 2004 U.S. Dist. LEXIS 11457, at *21 (S.D. Cal. June 21, 2004).
   5
   6   These costs were incurred for such things as filing fees for pleading and motions,
   6
   7   service of process, copying, postage, messenger services, mediation fees, preparing
   7
   8   for and participating in mediation, travel, attorney service fees, etc. Id.
   8
   9         F.     The Class Representative Enhancement Payment Is Reasonable
   9
  10         A district court may award enhancement payments to named plaintiffs in
  10
  11   class actions. Rodriguez v. West Publ’g Corp., 563 F.3d 948, 958-59 (9th Cir.
  11
  12   2009). The purpose of incentive awards is to “compensate class representatives for
  12
  13   work done on behalf of the class, to make up for financial or reputational risk
  13
  14   undertaking in bringing the action, and sometimes, to recognize their willingness
  14
  15   to act as a private attorney general.” Rodriguez, 563 F.3d at 958-59.
  15
  16         Subject to this Court’s approval, Class Counsel requests the modest sums of
  16
  17   $5,000 to be awarded to Plaintiff for the commitment to prosecuting this Action,
  17
  18   their efforts, risks undertaken for the payment of attorneys’ fees and costs if the
  18
  19   action had been lost, general releases of all claims arising from their employment,
  19
  20   stigma upon future employment opportunities for having sued a former employer,
  20
  21   as well as the recoveries for every Settlement Class Member, who if not for the
  21
  22   settlement, would have received nothing, and benefits to current and future
  22
  23   employees. (Hawkins Decl. ¶ 66; See generally, Declaration of Plaintiff Navarrete
  23
  24   filed in support of the motion for final approval filed concurrently herewith).
  24
  25         G.     The Administration Expenses Are Reasonable
  25
  26         Class Counsel also seeks payment of $55,000 to ILYM Group, Inc., the
  26
  27   appointed Administrator. (Hernandez Decl. ¶ 15). The Hernandez Declaration
  28 details the extensive work the Administrator performed and will continue to
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   1   perform following final approval to calculate settlement payment awards, print and
   1
   2   mail settlement payment checks, tax reporting to the appropriate agencies, and to
   2
   3   respond to inquiries. See generally Hernandez Declaration. The requested amount
   3
   4   is fair and reasonable and should be awarded.
   4
   5   VII. CONCLUSION
   5
   6         Class Counsel respectfully requests the Court to grant final approval of the
   6
   7   proposed Settlement, and to award from the MSA the Class Representative Service
   7
   8   Awards, Class Counsels’ attorneys’ fees and litigation expenses, the PAGA
   8
   9   Payment, and the Administrator’s expenses, in the requested amounts.
   9
  10
  10   Dated: July 1, 2021                JAMES HAWKINS APLC
  11
  11                                      By: /s/ Gregory Mauro
  12
  12                                      James R. Hawkins, Esq.
  13                                      Gregory Mauro, Esq.
  13
  14                                      Attorneys for Plaintiff ANTONIO
  14                                      NAVARRETE and for Members
  15                                      of the Class
  15
  16
  16
  17
  17
  18
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        MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR
            FINAL APPROVAL OF CLASS ACTION SETTLEMENT
